   Case 1-22-11558-rmb              Doc 182 Filed 07/02/24 Entered 07/02/24 09:27:38                    Desc
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                                     UNITED STATES BANKRUPTCY COURT
                                   FOR THE WESTERN DISTRICT OF WISCONSIN

    IN RE:                                                                             Case Number
    Jennifer & Israel R. McKinney                                                       22-11558 -13
                               Debtors

                                         NOTICE AND MOTION TO DISMISS


 Standing Chapter 13 Trustee, Mark Harring brings on this motion and respectfully represents:
     1. Debtors filed for relief under chapter 13 of the United States Bankruptcy Code on
        September 27, 2022.
     2. The debtor has caused unreasonable delay that is prejudicial to creditors pursuant to 11 USC Sec.
        1307(c)(1) by not providing the requested tax returns timely.
WHEREFORE your movant requests an order directing the dismissal of the above-captioned
chapter 13 proceeding.

PLEASE TAKE NOTICE that you must object or request a hearing on or before July 23, 2024
if you wish to contest this motion. Any objection or request for hearing that you file must be filed with the
court at the address listed below. An objection or request for hearing should set forth grounds to
support the objection request. If no objection or request for hearing is filed, the court shall grant the
motion without a hearing and the case will be dismissed.


       Dated: July 2, 2024                        /s/ Mark Harring
                                                  Standing Chapter 13 Trustee


                                              The Court's Address is:
                                                  United States Bankruptcy Court
                                                  120 N Henry
                                                  Room 340
                                                  Madison, WI 53703-2559




This copy of notice sent to:

      United States Bankruptcy Court
      120 N Henry
      Room 340
      Madison, WI 53703-2559
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                               UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF WISCONSIN

IN RE:                                                                            Case Number
Jennifer & Israel R. McKinney                                                      22-11558-13
                        Debtors

                                         CERTIFICATE OF SERVICE

I, Elizabeth Brady, state that on July 2, 2024 I deposited in the U.S. Mail a true and correct copy of the
notice and motion for dismissal to the following listed parties in envelopes with return addresses in case
of non-delivery, unless parties are served via the CM/ECF System sponsored by the Court.




United States Bankruptcy Court                            ATTORNEY GREG P. PITTMAN
120 N Henry                                               PITTMAN & PITTMAN LAW OFFICES
Room 340                                                  712 MAIN STREET
Madison, WI 53703-2559                                    LA CROSSE, WI 54601


Jennifer McKinney
316 4th St S
La Crosse WI 54601-4021



Israel R. McKinney
916 Tyler Street
La Crosse WI 54601



I certify under penalty of perjury that the foregoing is true and correct.

/s/ Elizabeth Brady
Office of the Standing Chapter 13 Trustee
